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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 JOSE CARREON,
                                        Plaintiff,
                                                                   Case No. 18-cv-1456
                          - against -
                                                                   RULE 7.1 DISCLOSURE
 O.K. DELI GROCERY D/B/A JAE’S DELI GROCERY                        STATEMENT
 and DOK MAN KIM
                                        Defendants.



        Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

 Magistrate Judges of the Court to evaluate possible disqualifications or recusal, O.K. Deli

 Grocery d/b/a Jae’s Deli Grocery, by its attorneys, Hang & Associates, PLLC, hereby state that

 the Corporation does not have any parent corporations, and that no publicly held corporation

 owns 10% or more of its stock.



 Dated: Flushing, New York
        May 22, 2018
                                          Hang & Associates, PLLC.

                                          ___/s Phillip H. Kim
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